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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-20361-CR-MARTINEZ

 UNITED STATES OF AMERICA,

 vs.

 ELIE FLORADIN,

               Defendant.
                                            /

                         UNITED STATES OF AMERICA’S
              BILL OF PARTICULARS FOR FORFEITURE OF PROPERTY

        Pursuant to Rule 32.2(a) of the Federal Rules of Criminal Procedure, the United States of

 America hereby gives notice that, in addition to property generally identified in the forfeiture

 allegations of the Indictment, ECF No. 1, the United States seeks the forfeiture of the following

 property, pursuant to 18 U.S.C. §§ 982(a)(2)(A) and 982(a)(1), and 21 U.S.C. § 853(p):

        i. The real property located at 1290 NW 60 ST, MIAMI, FL 33142.

                                                Respectfully submitted,

                                                JUAN ANTONIO GONZALEZ
                                                UNITED STATES ATTORNEY

                                      By:       /s/ Peter A. Laserna
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